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 2   Delgado Entertainment Law, PLLC
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 3   Scottsdale, Arizona 85251
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 5   krystle@delgadoentertainmentlaw.com
     Attorney for Plaintiff
 6

 7                          UNITED STATES DISTRICT COURT

 8                                 DISTRICT OF ARIZONA
 9
     New Parent World, LLC, a New Jersey         )    Case No. 3:23-CV-08089-DGC
10   for-profit corporation (d/b/a My Baby       )
     Experts),                                   )
11                                               ) PLAINTIFF’S NOTICE OF INTENT
                                                    TO SERVE SUBPOENA DUCES
12
                          Plaintiff,             ) TECUM IN UPON RUMBLE, INC.
            vs.                                  )     AND VIMEO.COM, INC.
13                                               )
     True To Life Productions, Inc., an Arizona )
14   for-profit corporation; Heritage House ’76, )
15   Incorporated, an Arizona for-profit         )
     corporation; Brandon Monahan, in his        )
16   individual capacity,                        )
17
                                                 )
                          Defendants.            )
18
           NOTICE IS HEREBY GIVEN, that pursuant to Fed. R. Civ. P. 45(a)(4), Plaintiff,
19

20   New Parent World, LLC (“Plaintiff”), by and through undersigned counsel, hereby gives

21   notice of Plaintiff’s intent to serve a subpoena for records upon Rumble, Inc. and
22
     Vimeo.com, Inc. A copy of the subpoenas are attached hereto as Exhibit A.
23
           RESPECTFULLY SUBMITTED this 20th day of May, 2024.
24

25
                                             By: s/Krystle M. Delgado
26                                            KRYSTLE M. DELGADO
                                              Delgado Entertainment Law, PLLC
27
                                              Attorney for Plaintiff
28
                               CERTIFICATE OF SERVICE
 1

 2        I hereby certify that on May 20, 2024, Plaintiff’s Notice of Intent to Serve
   Subpoena was filed with the United States District Court, for the District of Arizona,
 3 using the CM/ECM system, which will send notification of such filing to counsel of

 4 record via electronic mail as follows:

 5        Maria Crimi Speth
          Aaron K. Haar
 6
          Jaburg & Wilk, P.C.
 7        3200 N. Central Avenue, 20th Floor
          Phoenix, AZ 85012
 8        mcs@jaburgwilk.com
 9        akh@jaburgwilk.com
          Attorneys for Defendants
10

11
                                                   s/Tremain Daivs
12                                                 Tremain Davis
13

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